409 F.2d 610
    NATIONAL LABOR RELATIONS BOARD, Petitioner,v.TEAMSTERS' FREIGHT LOCAL NO. 480, affiliated with the International Brotherhood of Teamsters, Chauffeurs, Warehousemen and Helpers of America, Respondent.
    No. 18789.
    United States Court of Appeals Sixth Circuit.
    April 23, 1969.
    
      Leonard M. Wagman, N.L.R.B., Washington, D. C., for petitioner; Arnold Ordman, Gen. Counsel, Dominick L. Manoli, Associate Gen. Counsel, Marcel Mallet-Prevost, Asst. Gen. Counsel, Herbert Fishgold, Attys., N.L.R.B., Washington, D. C., on brief.
      Cecil D. Branstetter, Nashville, Tenn., for respondent; Carrol D. Kilgore, Nashville, Tenn., on brief.
      Mullinax, Wells, Mauzy, Levy &amp; Richards, by L. N. D. Wells, Jr., Dallas, Tex., on brief of amicus curiae Southern Conference of Teamsters.
      Before WEICK, Chief Judge, and PHILLIPS and CELEBREZZE, Circuit Judges.
    
    ORDER
    
      1
      The National Labor Relations Board has petitioned for enforcement of its order finding the Respondent, Teamsters' Freight Local No. 480 guilty of violations of Sections 8(b) (1) (A) and 8(b) (2) of the National Labor Relations Act. The Board's decision and order are reported at 167 N.L.R.B. No. 135.
    
    
      2
      The cause having come on to be heard upon the record, briefs and arguments of counsel, and upon due consideration thereof, the Court is of the opinion that there is substantial evidence upon the record, viewed as a whole, to support the findings of the Board.
    
    
      3
      Now therefore, it is ordered that the petition for enforcement of the said order of the Board may be, and it is hereby granted.
    
    